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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                 Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:10−cr−00773
                                                       Honorable Robert W. Gettleman
Sami Samir Hassoun
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 28, 2020:


       MINUTE entry before the Honorable Robert W. Gettleman as to Sami Samir
Hassoun: The government is directed to respond to defendant's motion for modification of
sentence based on extraordinary and compelling reasons [94] on or before 6/11/2020,
defendant's reply due on or before 6/18/2020. The court will issue its ruling via CM/ECF.
Mailed notice (cn).




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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